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 1
                       UNITED STATES DISTRICT COURT
 2
                            DISTRICT OF NEVADA
 3                                               -oOo-

 4
      UNITED STATES OF AMERICA,
 5
                 Plaintiff
 6                                                         Case No. 2:09-CR-132-JAD-GWF
          vs.
 7
       [6] HELEN BAGLEY,
 8
                 Defendant
 9

10                                             ORDER

11          THIS MATTER COMES BEFORE THE COURT on the UNITED STATES’ Motion to

12   Dismiss Defendant [6] Helen Bagley. Having considered the Motion and finding good cause

13   therefor,

14          IT IS HEREBY ORDERED that the UNITED STATES is granted leave pursuant to

15   Federal Rule of Criminal Procedure 48(a) to dismiss the superseding indictments as to

16   defendant [6] HELEN BAGLEY.

17          IT IS FURTHER ORDERED that the charges pending against defendant [6] HELEN

18   BAGLEY in the superseding indictments filed in this case are hereby dismissed as to [6]

19   HELEN BAGLEY (and no other defendant).

20          SO ORDERED this ________ dayDecember,
                             3rd day of  of December 2013.
                                                  2013.

21

22
                                         ____________________________________
23
                                         UNITED STATES DISTRICT JUDGE
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